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                          IN THE UNITED STATES DISTRICT COURT
                                                     OF TEXAS


          SCRUGGS,                          §
                                            §
                                            §
                                            §
vs.                                         §           ACTION NO. 7:14-CV-00123-0
                                            §
                    and                     §
                                            §
          Defendants                        §




1.    Declaration of Douglas C. Bracken                     App 003 - App 031

2.    Declaration of Brandon Shelby                         App 0032-App 038

3.    Declaration of Bryan   Haynes                         App 039-App 043




                                                Respectfully submitted,

                                                Isl Douglas C. Bracken

                                                Douglas C. Bracken
                                                Texas Bar No._00783697
                                                SCHEEF & STONE, LLP
                                                500 N. Akard Street, Suite 2700
                                                Dallas, Texas 75201
                                                (214) 706-4250-Telephone
                                                (214) 706-4242 Facsimile
                                                douglas.bracken@solidcounsel.com




APPENDIX TO BRIEF IN SUPPORT OF REASONABLE ATTORNEY'S               COSTS & EXPENSES   PAGE
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             undersigned certifies that on December 31, 2015, a true and correct copy of
foregoing document was electronically filed                    of the U.S. District Court, Northern
District of Texas, using the electronic case filing system of the court.      electronic case filing
system sent a "Notice of Electronic         to the attorneys listed below.

Nicholas O'Kelly
Kilgore Kilgore PLLC
3109 Carlisle Street, Suite 200
       TX 75231
JLJU,Jl" ......... , .




Thomas P Brandt
Nichole Marie Plagens
Stephen D Henninger
Fanning Harper Martinson Brandt & Kutchin PC
Two Energy Square
4849 Greenville Ave Suite 1300
Dallas, TX 75206




                                                     Isl Douglas C. Bracken
                                                     Douglas C. Bracken




 APPENDIX TO BRIEF IN SUPPORT OF REASONABLE ATTORNEY'S                     COSTS & EXPENSES        PAGE
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                                     UNITED                 COURT
                                      NORTHERN DISTRICT OF TEXAS
                                     WICHITA FALLS DIVISION

           SCRUGGS,                                §
                                                   §
               Plaintiffs                          §
                                                   §
vs.                                                §
                                                   §            ACTION NO. 7:14-CV-00123-0
CITY OF BOWIE, and DARLA CORDELL                   §
                                                   §
               Defendants                          §
                                                   §


                                                       SUPPORT
                            ATTORNEY'S FEES, COSTS AND EXPENSES

I, DOUGLAS C. BRACKEN, declare pursuant to 28 U.S.C. Section 1746:

          1.        My name is Douglas C. Bracken. I am fully qualified and competent to make this

Declaration. I am over eighteen (18) years old. I have personal knowledge of all facts stated

herein other than those facts which I expressly state are made on the basis of information and

belief.

           2.       I am a partner with the law firm of Scheef & Stone, LLP, which has more than 50

lawyers between its two offices in Dallas and Frisco, Texas. I have been licensed to practice law

in Texas since 1992. I received a B.A. degree with honors from Washington & Lee University in

Lexington, Virginia in 1989, and I obtained my J.D. from Texas Tech University School of Law

in 1992 where I was a member of the Law Review. Because I attend at least 30 hours of

continuing legal education each year, I am a member of the College of the State Bar of Texas

and have been since 2005.



DECLARATION OF DOUGLAS C. BRACKEN IN SUPPORT OF AWARD OF ATTORNEY'S
COSTS AND EXPENSES -- PAGE 1
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        3.       Since 1992, I have been practicing m general civil litigation, and more

specifically in the area of labor and employment law,     the state and federal courts primarily in

the North Texas area. I have been admitted to practice before the United States District Comis

for the N orthem, Western, Eastern and Southern Districts of Texas, as well as the Northern

District of Illinois and the District of Colorado. I have also been admitted to practice before the

Fifth Circuit Court of Appeals and      United States Supreme Court. I am in good standing

the courts to which I am admitted. I have never had a disciplinary action taken against me in any

court or bar where I have practiced.     I have never been held        contempt of any court, or

censured, disbarred or suspended by any court.

        4.     I am Board Certified in Labor & Employment Law by the Texas Board of Legal

Specialization and have been since 2004, having been recertified in 2009 and 2014. I have

additional experience in cases involving defamation and First Amendment issues. For instance,

in 2013 I was admitted pro hac vice to the United States District Court for the Southern District

of California where I served as lead counsel in a case involving issues under that state's anti-

SLAPP statute.

        5.     Plaintiffs Original Complaint was filed against Judge Cordell on November 7,

2014 (ECF No. 1). Initially, Counsel for the City of Bowie also represented Judge Cordell and

filed a motion to dismiss on her behalf (ECF No. 3).        Soon thereafter, Plaintiff voluntarily

dismissed Judge Cordell by Plaintiffs First Amended Complaint filed on February 3, 2015 (ECF

No. 9). After Judge Cordell's dismissal, counsel for the City no longer represented her.

        6.     Judge Cordell subsequently retained Brandon Shelby, who assisted her in issuing

a press release regarding her dismissal, responded to Plaintiffs demand to retract the press


DECLARATION OF DOUGLAS C. BRACKEN IN SUPPORT OF AWARD OF ATTORNEY'S
COSTS AND EXPENSES -- PAGE 2
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release, and defended her deposition.      June 22, 2015, Plaintiff brought Judge Cordell back

into this lawsuit because of the press release by filing Plaintiff's Second Amended Complaint

(ECF No. 28). Although         Shelby continued to represent Judge Cordell, she contacted me on

June 29, 2015 regarding potential representation. I initially reviewed whether she would be

covered by      City of Bowie's insurance to defray the cost to Judge Cordell for the defense of

the claims asserted in the Second Amended Complaint.         Although coverage was denied, I

decided to represent Judge Cordell anyway, taking such denial into consideration with other

factors when I set my billing rate.

        7.     Meanwhile, Brandon Shelby filed an answer on behalf of Judge Cordell on July

15, 2015 (ECF No. 38). However, Scheef & Stone, LLP substituted as counsel in this lawsuit for

Judge Cordell on July 24, 2015 (ECF No. 42).

         8.    In providing the defense of this case, I assigned and supervised all work

performed by Scheef & Stone, LLP. The majority of the work on this case has been performed

by me, with additional work performed by an associate in the film, Reasha C. Hedke, and by an

experienced paralegal in the firm, Will Hester, who assisted in organizing the evidence required

to defend this case.

         9.    My standard rate is $395 per hour for my services; Ms. Hedke's standard rate is

$225 per hour; and Mr. Hester's standard rate is $125 per hour. These rates are comparable to or

lower than rates charged by attorneys and paralegals with similar levels of experience at similar

law firms in Dallas County, Texas, in the Northern District of Texas, and comparable to rates

charged by attorneys and paralegals with similar levels of experience in Wichita County, Texas,

which is also in the Northern District of Texas. This is further supported by the Texas Lawyer


DECLARATION OF DOUGLAS C. BRACKEN IN SUPPORT OF A WARD OF ATTORNEY'S
COSTS AND EXPENSES -- PAGE 3
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annual survey of billing rates, which shows that a non-equity paiiner      a firm in the Dallas/F01i

Wo1ih area bills on average $391 per hour. A true and correct copy of the survey results from

Texas Lawyer is attached. The survey also shows that a first year associate in the Dallas/Fo1i

Worth area bills on average $225 and a fourth year associate in the Dallas/Fort Worth area on

average bills $272 per           As a third year associate, Ms. Hedke's rate is well within these



           10.   Although my standard billing rate is facially reasonable, because (among other

factors) Judge Cordell was an individual residing in Bowie, Texas, and insurance coverage had

been denied for her defense of the claims asserted in the Second Amended Complaint, I agreed

to reduce my standard rate to $300 per hour to represent her in this case. This rate is clearly

below the averages for an experienced partner in the Dallas/Fort Worth area.

           11.   After substituting into the case, I learned that considerable discovery had already

been conducted by the other parties in the case. In addition to the prior deposition of Judge

Cordell defended by Brandon Shelby, the City had produced extensive documents from an

investigation of Chief Scruggs by the Texas Rangers, including multiple statements from

multiple witnesses. I obtained much of this information from counsel for the City of Bowie. I

also obtained information from Mr. Shelby regarding the drafting and issuance of the press

release.    In addition to researching for and drafting the Motion to Dismiss, I reviewed the

obtained information and conferred with Judge Cordell on multiple occasions to distill the

information into affidavits to support the Motion to Dismiss.         I also conferred with other

witnesses to prepare their affidavits. Meanwhile, other scheduled depositions had to be delayed

by agreement of counsel for the parties.


DECLARATION OF DOUGLAS C. BRACKEN IN SUPPORT OF AWARD OF ATTORNEY'S
COSTS AND EXPENSES--PAGE
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        12.      This     subsequently timely filed an Anti-SLAPP Motion to Dismiss on behalf

of Judge Cordell on August 17, 2015           No. 43) with an Appendix       support that included

multiple affidavits and supporting evidence totaling more than 70 pages (ECF No.           Plaintiff

filed his response (ECF No. 48) with a supporting Appendix (ECF No. 49) on September 8,

2015. Defendant filed her brief        reply on September 22, 2015           No. 52). This Court

granted the               motion by Order issued on December 17, 2015, finding that Plaintiffs

claims against Judge Cordell should be dismissed with prejudice and awarding her costs,

attorney's fees and expenses (ECF No. 56). The Court requested that Judge Cordell submit to

the Court documentation of her reasonable costs, attorney's fees, and expenses incurred in

defending against this legal action.

        13.      The litigation has been handled in the most efficient manner possible, and the

Anti-SLAPP motion filed in an expeditious fashion within the parameters of Tex. Civ. Prac. &

Rem. Code Chapter 27 and the Federal Rules of Procedure. The reasonable and necessary fees

were incurred in this matter performing tasks that included, but are not limited to: preparing and

filing pleadings and other papers with the court; conducting legal research; reviewing and

evaluating the case to dismissal; developing, exploring and implementing legal theories and

strategies to present Defendant's defense to Plaintiff's claims; investigating the facts, documents,

testimony, and other evidence relevant to the dispute; reviewing legal arguments presented by

Plaintiff; responding to such arguments; and preparing this fee application pursuant to the

Court's Order.

         14.     I have reviewed the invoices for Scheef & Stone,          in this matter, true and

correct copies of which are attached as Exhibit 2 (although I have minimally redacted several


DECLARATION OF DOUGLAS C. BRACKEN IN SUPPORT OF AWARD OF ATTORNEY'S
COSTS AND EXPENSES -- PAGE 5
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entries to protect attorney work product).              I performed tasks in this case, I kept

contemporaneous time records for the tasks described, as would Ms. Hedke and             Hester.

Although we may write down the actual time expended, before sending out the invoice for such

work performed, I exercised billing judgment to reduce time expenditures for activities that

might be perceived as excessive or clerical. In fact, I did not even charge Judge Cordell for my

time between June 29, 2015 and July 10, 2015 while I was deciding whether to take the case. I

also gave Judge Cordell a 10% comiesy discount on her August invoice. The resulting time

entries are self-explanatory and fully substantiate the time expended.

         15.      Consequently, I spent 81.70 hours at $300/hr totaling $24,510.00; Reasha Hedke

spent 6.20 hours at $225/hr totaling $1395.00; and Will Hester spent 4.70 hours at $125/hr

totaling $587.50.     Therefore, the total fees were $26,492.00.    After subtracting the August

$709.50 courtesy discount, Judge Cordell incurred $25,782.50 in fees with Scheef & Stone,

in the defense of this matter.

         16.      Moreover, in the further exercise of billing judgment, I have subsequently

excluded several entries because, in my opinion, they were not necessarily related to the defense

of this action.     In addition to seeking my representation in this action, Judge Cordell also

consulted with me regarding her rights and protections in her employment as a municipal judge

with the City of Bowie. Since this consultation was not in furtherance of the defense of the

claims asserted by Plaintiff against Judge Cordell, I have excluded the time entries related to

such consultation.

         17.      After I reviewed my time and exercised critical billing judgment, my reasonable

fees were reduced by       10 hours or another $1,230.00. Consequently, in addition to the prior


DECLARATION OF DOUGLAS C. BRACKEN IN SUPPORT OF AWARD OF ATTORNEY'S
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courtesy discount, I have shaved                 an additional 5% of my fees                the exercise of billing

judgment. These deducted entries are reflected in the additional time statement attached hereto

as Exhibit 3.

          18.     Therefore, considering the reasonable number of hours that is being sought and

the reasonable billing rates of those involved from Scheef & Stone, LLP, the total amount of

attorney's fees incurred by Scheef & Stone, LLP for the defense of this action is $24,552.50.

          19.     I attest that all of the time spent by. me (except for the time reduced) and others at

Scheef & Stone,             was necessary for the successful defense of this case on behalf of Judge

Cordell, and the fees incurred were reasonable. 1 In making this evaluation, I also considered:

the time and labor involved; the novelty of the Texas Anti-SLAPP statute and its dismissal

procedure; the skills those performing the services possessed; the likelihood that acceptance of

this employment at that time and under those time constraints precluded other hourly

employment by me; the customary fees in the Northern District of Texas for similar work; the

fact my professional business model does not suppo1i contingency based work; the time

limitations imposed by the Texas Anti-SLAPP statute and the filing of the Second Amended

Complaint against Defendant; the favorable result obtained for Defendant, whose professional

reputation was at stake; the experience, reputation and ability of those performing the services;

the fact Defendant, as a new client and an individual (rather than a corporation) without

insurance coverage, may have difficulty paying the hourly fees; and other awards of attorney

1
 Johnson v. Georgia Highway Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974) requires the Court to consider: (1)
the time and labor required; (2) the novelty and difficulty of the questions; (3) the skill requisite to perform the legal
services properly; (4) the preclusion of other employment by the attorney due to acceptance of the case; (5) the
customary fee for similar services in the locality; (6) whether the fee is fixed or contingent; (7) the time limitations
imposed by the client or the circumstances; (8) the amount involved and the results obtained; (9) the experience,
reputation, and ability of the attorneys; (10) the "undesirability" of the case; and, (11) the nature and length of the
professional relationship with the client; and (12) awards in similar cases. Id at 717-19; see also Arthur Andersen
Co. v. Perry Equip. Corp., 945 S.W.2d 812, 818 (Tex. 1997)(outlining similar factors for Texas state comis).
DECLARATION OF DOUGLAS C. BRACKEN IN SUPPORT OF AWARD OF ATTORNEY'S
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fees in similar cases. I also considered the amount of evidence to          sought, the discovery

required, and the unique facts and circumstances of this case implicating Defendant's First

Amendment right to comment on an ongoing matter of public concern that also affected her

personal and professional reputation in the community.

         20.       addition,     total amount of expenses incurred by Scheef & Stone,          the

defense of this action after Plaintiff filed his Second Amended Complaint is $939.17. These

expenses are reasonable and not normally absorbed as part of a law firm's overhead, but are the

type of expenses that are normally billed to a client. These expenses are also reasonable and

 appropriate for this type of case.

         21.    Accordingly, the total reasonable and necessary attorneys' fees, costs and

 expenses incurred by Scheef & Stone, LLP in defending against the Second Amended Complaint

 are $25,491.67, including fees, costs and expenses incurred up to and including this submission.

         22.    Plaintiff has also filed an objection to the Court's Order issued December 17,

 2015 and has further moved to set it aside. Consequently, it is anticipated that Defendant will

 incur additional time and expense briefing the issue raised in Plaintiffs objection. I anticipate

that briefing these issues will add at least an additional 12 hours of my time, totaling an

 additional $3,600.00.

         23.    If Plaintiff makes an unsuccessful appeal from this lawsuit to the United States

 Court of Appeals for the Fifth Circuit, I am of the opinion that $25,000 would be a reasonable

 fee for services performed by Scheef & Stone, LLP on appeal.

          24.    Further, I am of the opinion that $35,000 would be a reasonable fee for services

 perf01med by Scheef & Stone,         on appeal of this cause to the United States Supreme Court.


 DECLARATION OF DOUGLAS C. BRACKEN IN SUPPORT OF AWARD OF ATTORNEY'S
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         25.        opinions expressed            are based upon     information received to date. I

 reserve the right to supplement this affidavit and its conclusions subject to any additional

 infonnation made available to me.


        I declare under penalty of perjury that      foregoing is true and correct.


         Executed on December 31, 2015.




 DECLARATION OF DOUGLAS C. BRACKEN IN SUPPORT OF AWARD OF ATTORNEY'S
 COSTS AND EXPENSES -- PAGE 9
                          Case 7:14-cv-00123-O           Document 60   Filed 12/31/15          Page 12 of 43        PageID 776




                   5383       $375       2.1%       $345        $338    2.1%



                              $320       1.6%       $300        $290    3.4%       $250          $248          0.8%

                   $428       $425       0.7%       $391        $381    2.6%       $305          $303          0.7%

                   S400       $393       L8%        $359        $352    20%        $300          $300          0.0%

                              $335       3.0%       $300        $290    3.4%       $275          $275          0.0%

                              -          -          -           -       ~

                                                                                   ·-

                                         0.9%       $391        $381    2.6%       $318          $310          2.6°1:

                   $560       $550       1.8%       $478        $473    1.1%

                   $468       $455       2.9%       $368        $358    2.8%       $293          $283          3.5%

                                         '14%       $280        $280    0.0%       $275          $263          4.6%




                   $259           $253       2.4%       $200                2.6%        $138     $135      2.2o/o



                   S200           $195       2.6%       $175    $175        0.0%        $75      $75       0.0%

                                  $262       3.8%       $225    $220        2.3%        $173     $168      3.0%

                   $260           $263       -i         $200    $200        0.0%        $143     $140      2.1%,

                   $250           $250       0,0%       $198    $192        3.1         $100               0.0%




                                  $266       3.0%       $24'!   $236     2.'1%          $175     $170      2.9%

                   $435           $425       2.4%       $355    $345     2.9%           $213     $203      4.9%

                   S250           $245       2.0%       $190    $185     2.7%           $158     $153      3.3%

                   $225           S220       2.3%       $175    $175     0.0%           $100     $96       4.2%


Source. 83 firms
              Case 7:14-cv-00123-O         Document 60         Filed 12/31/15        Page 13 of 43     PageID 777
      Scheef &
      500 N.       Suite 2700
             Texas 75201
           706-4200



                                                          INVOICE


      Darla                                                                                                            5
                                                                                                 Account No:     8694-101
                                                                                                  Invoice No:      846517




      Matter 101 - David Scruggs


                                                                                                      I

                                                                                                       Hours
06/29/2015            Review correspondence regarding Darla Cordell; conduct research
                      regarding same.                                                                     0.30        n/c

06/30/2015      DCB   Review pleadings on file to determine if might take case; telephone
                      conference with Ms. Cordell.                                                        0.30        n/c

07/06/2015      DCB   Telephone conference with Steve Henninger regarding TML; review
                      follow up correspondence regarding TML coverage contacts; draft
                      correspondence to Ms. Cordell regarding potential representation; review
                      response to schedule time for conference.                                           0.50        n/c

07/07/2015      DCB   Draft correspondence to schedule time to talk with Darla Cordell; review
                      response confirming time for conference; telephone conference with Ms.
                      Cordell; telephone call to Steve Henninger and leave message; draft
                      correspondence to Ms. Cordell to confirm same.                                      0.30        n/c

07/08/2015      DCB   Review correspondence from Darla Cordell regarding city council meeting
                      , requesting whether will take case and next city meeting; telephone
                      message from Steve Henninger regarding case; draft correspondence
                      requesting next scheduled council meeting; review response from Ms.
                      Cordell; draft response regarding availability and strategy.                        0.30        n/c

07/09/2015            Review response from Darla Cordell regarding obtaining copy of denial of
                      coverage by TML.                                                                    0.10        n/c

07/10/2015      DCB   Draft correspondence to Darla Cordell regarding discussing options;
                      review response to schedule time for meeting.                                       0.10

         5      DCB



                                                                                                          0.80
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      Darla Cordell                                                                                                     07/26/2015
                                                                                                         Account No:     8694-101
                                                                                                          Invoice No:      846517
      Matter 101   David




                                                                                                               Hours


                                                                                                                0.10

07/16/2015            Review information in file from Darla       meeting with Ms. Cordell in
                            conduct legal research regarding potential claims and defenses.                     1.50

07/17/2015            Review letter from TML den in coverage received from Darla Cordell;
                      review correspondence from Ms. Cordell regarding meeting with Mayor;
                      draft response to Ms. Cordell regarding potential letter to City; conduct
                      legal research for same; draft initial letter to Cit re arding potential
                      liabilit for harassment and retaliation· review corres ondenc fr m M
                      Cordell                                   r     aw er· conduct additional legal
                      research regarding potential protective order; draft correspondence to
                      Ms. Cordell regarding same; review response from Ms. Cordell regarding
                      whole Scruggs clan; draft response to try to include same and requesting
                             efforts at protective order; review response regarding grand jury and
                      cancellation of same; conduct legal research regarding stalking; draft
                      correspondence explaining difference between stalking protective orders
                      available, and no indictment needed for one type; review request from
                                            ·             ·   Cit ; draft response 1
                                                                                                                2.00

07/18/2015     DCB    Review correspondence from Darla Cordell explaining emotional distress.                   0.10

07/20/2015            Review correspondence from Darla Cordell regarding emotional distress
                      suffered; draft correspondence in response regarding action to take at
                      this time; review answer filed by Brandon Shelby and compare with
                      amended complaint; review deadlines in case; conduct legal research
                      regarding defamation claims asserted and defenses asserted in answer.                     0.80
               WLH    Review email from D Bracken requesting a copy of the answer filed by
                      Brandon Shelby; access Pacer.gov and retrieve copy of answer then
                      forward to D Bracken.                                                                     0.10

07/21/2015     DCB    Review correspondence from Darla Cordell forwarding prior lawyer1s
                      letter to            regarding protective order; review prior research regarding
                      protective order and proceeding to obtain same; conference with Steve
                      Henninger regarding status of case; draft correspondence to Ms. Cordell
                      i"Ol"'ll~i"l"il•nn same; review correspondence from Mr. Henninger forwarding
                      ae1:>os~mc~n notice and information regarding service; draft
                      correspondence to Ms. Cordell asking when served; review response
                      from Ms. Cordell regarding date prior lawyer accepted service; conduct
                      legal research regarding anti-SLAPP motion and time to file same; draft
                      f"n1·roc~nn,nr1io.nr•o to Ms. Cordell              same; confer with Will Hester
                      i"O,..,~i"rllinn information needed                   review newspaper article
                      published             Wichita Falls newspaper; draft outline for strategy and
                      .-..-"'"".,'""notice of vacation; review response from Ms. Cordell; review
                      research                    Texas               motion upheld      federal
                      draft motion to substitute as counsel.
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      Darla Cordell
                                                                                                        Account No:
                                                                                                         Invoice No:
      Matter 101 - David




                                                                                                              Hours
               WLH       Receive and review fax from D Cordell                        client
                         agreement and forward to D               research article published      the
                         Wichita Falls Tribune                    statement issued       D Cordell
                                   Cordell 1s         conference with D Bracken ran,'!:lli"rllnnn
                         Anti-SLAPP motion and docket deadline to          review anti-SLAPP matter
                         filed in the Southern District and forward to D Bracken.                              0.30

07/22/2015               Review correspondence from Darla Cordell requesting next steps for
                         substitution of counsel; draft response to same; review and revise motion
                         to substitute counsel; conduct legal research regarding anti-SLAPP
                         motion to dismiss based on free speech; telephone call to Stephen
                         Henninger regarding motion to substitute counsel and potential stay of
                         discovery for              motion; draft correspondence to Mr. Henninger
                         to follow up same; telephone conference with withdrawing counsel,
                         Brandon Shelby; draft correspondence to Mr. Shelby; draft
                         correspondence to Darla Cordell regarding same.                                        1.20

07/23/2015         Review correspondence from Steve Henninger to schedule conference
                   call; telephone conference with Mr. Henninger; draft correspondence to
                   opposing counsel, Nick O'Kelly, regarding motion to substitute; review
                   approval of same from Mr. O'Kelly; review signed engagement letter
                   received from Ms. Cordell; draft response to Ms. Cordell; review
                   information received from Brandon Shelby including emails and
                   information sent to media outlets and regarding requested retraction of
                   same; review deposition of Ms. Cordell received from Mr. Henninger;
                   draft correspondence to Ms. Cordell to forward same; forward motion to
                   substitute counsel to Mr. Shelby; review approval of same; review and
                   revise proposed order; prepare same for filing with court; forward copy of
                   same to Ms. Cordell; conduct legal research for anti-SLAPP motion; draft
                   correspondence to Ms. Cordell requesting additional information; review
                   response regarding same; draft response confirming document already
                   forwarded.                                                                                   1.30
               WLH Review email from D Bracken regarding file documents sent via email
                   from Brandon Shelby to be moved to the DMS; transfer documents to the
                   DMS.                                                                                         0.50

07/24/2015     DCB       Review order signed by court confirming substitution of counsel; review
                         correspondence from Darla Cordell with changes to her deposition; draft
                         correspondence to Steve Henninger regarding same.                                      0.20
                         For Current Services Rendered                                                         12.80

                                                            Recapitulation
               Timekeeper                                                    Hours     Hourly Rate
               Will Hester                                                    0.90         $125.00
               '-""-"'-'U"''"-"" Bracken                                     11.90          300.00
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Darla                                                                                            5
                                                                           Account No:    8694-101
                                                                            Invoice No:     84651
Matter 1    - David




                Balance Due




                TERMS: DUE     PAYABLE       RECEIPT
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                      Suite 2700
      -~··~~.Texas   75201
             706-4200



                                                             INVOICE


      Darla Cordell                                                                                                   08/25/2015
                                                                                                       Account No:     8694-101
                                                                                                        Invoice No:       848307




      Matter 101 - David Scruggs




                                                                                                             Hours
07/26/2015     DCB     Review signed order from court granting motion to substitute; forward
                       same to Ms. Cordell.                                                                   0.10

07/28/2015             Review correspondence from Steve Henninger regarding rescheduling
                       depositions; draft correspondence to Mr. Henninger confirming
                       rescheduling depositions desired; review response regarding status of
                       rescheduling of depositions; review correspondence from opposing
                       counsel confirming dates for depositions; review response from Mr.
                       Henninger; draft correspondence to Darla Cordell regarding same; review
                       response from Ms. Cordell.                                                             0.30

07/30/2015     DCB     Review correspondence from Steve Henninger confirming dates for
                       depositions of City employees; review new deposition notices received
                       from opposing counsel; draft correspondence to Darla Cordell regarding
                       same; review response from Ms. Cordell requesting relief from City
                       Council meetings.                                                                      0.20

08/04/2015             Review correspondence from Darla Cordell regarding changes to her
                       position and to her clerk 1s position at the City of Bowie; draft response to
                       same; review reply from Ms. Cordell explaining attended council meeting
                       regarding her clerk.                                                                   0.20

08/05/2015             Review correspondence from Darla Cordell regarding council meeting;
                       draft correspondence in response; review her further explanation of
                       council meeting.
                                                                                                            G
         5
                                                                                                             CE
         5                                                         and        from council
                                               research and outline for motion to dismiss.
             Case 7:14-cv-00123-O             Document 60             Filed 12/31/15           Page 18 of 43       PageID 782

      Darla Cordell                                                                                                          08/25/2015
                                                                                                              Account No:     8694-101
                                                                                                               Invoice No:       848307
      Matter 01 - David




                                                                                                                    Hours
08/10/2015     WLH    Review email from D Bracken                  copy of Doc 51 filed in Williams
                        Cordillera                      email D Bracken copy of Doc 51.                              0.10
                      Review correspondence from counsel for           of        Steve 1-1""'"'""""'"'"'"''
                      requesting status of             anti-SLAPP
                                 intention to file motion to dismiss and             schedule for
                      depositions; review response from Mr. Henninger outlining deposition
                      schedule; draft additional correspondence clarifying schedule; review
                      response from Mr. Henninger regarding same; begin drafting motion to
                      dismiss; conduct legal research regarding motion
                                                                                                                      1.80

08/12/2015     DCB    Continue to draft motion to dismiss; review documents to attach as
                      exhibits; draft correspondence to counsel for City of Bowie, Steve
                      Henninger, regarding same; review response to confirm time to discuss;
                      draft reply to same; review various emails and correspondence regarding
                      press release sent to media outlets; draft correspondence to former
                      counsel, Brandon Shelby, regarding affidavit regarding same.                                    3.40

08/13/2015     DCB    Draft correspondence to Steve Henninger to request time for conference;
                      telephone conference with Mr. Henninger; review initial disclosures
                      served in case received from Mr. Henninger; draft correspondence to
                      Darla Cordell requesting conference; telephone conference with Ms.
                      Cordell regarding facts of motion; continue to draft motion to dismiss
                      regarding facts; draft correspondence to Steve Henninger regarding facts
                      and exhibits for same; telephone conference with Mr. Henninger; draft
                      correspondence to Ms. Cordell requesting telephone conference;
                      additional telephone conference with Ms. Cordell regarding facts for
                      motion to dismiss; continue to draft motion to dismiss; request opportunity
                      to confer with Guy Green regarding potential affidavit.                                         2.60

08/14/2015     WLH    Review email from D Bracken requesting declarations from Guy Green
                      and Darla Cordell be converted to usable form for exhibits in the Motion to
                      Dismiss; convert documents and email to D Bracken and K Bates.                                  0.20
               DCB    Telephone conference with Darla Cordell regarding facts of claims;
                      review correspondence from Steve Henninger regarding contacting Guy
                      Green and others for affidavits; draft proposed affidavits for Guy Green
                      and Doug Page; review correspondence confirming conference with
                      Green and Page; review fax information from Ms. Cordell regarding
                      contacts with Scruggs; request faxed information to be sent via scan and
                      email; review response confirming same; review information sent via
                      email; review and revise motion to dismiss; draft correspondence to Ms.
                        ordeil requesting 1 n a en a or c1 council meetin ; review respons
                      confirming same; elephone conference with Mr. Henninger and Green
                      an    age regar      affidavits; revise affidavits accordingly; telephone
                      conference with Mr. Henninger and partner Tom Brandt                   motion
                      to dismiss and suspension of discovery when same filed; draft
                      correspondence to          and         for review of affidavits.                                3.90

08/16/2015            Review response from counsel for              Tom
             Case 7:14-cv-00123-O             Document 60           Filed 12/31/15         Page 19 of 43        PageID 783

       Darla Cordell                                                                                                     ' '"' .~ ' ",.., 5
                                                                                                          Account No:       8694-101
                                                                                                           Invoice No:          848307
       Matter 101 - David




                                                                                                                Hours
                       for Green and         work on facts section for anti-SLAPP              draft
                       affidavits for Darla Cordell and Brandon                                                  2.50

08/17/2015     WLH     Conference with D Bracken                   research of article              the
                       Wichita Falls           draft affidavit stating research of article and forward
                       to D Bracken.                                                                             0.30
                       Draft correspondence to counsel for             Tom Brandt, regarding
                       affidavits for      Green and Doug Page; review and revise affidavit for
                       Brandon Shelby; draft correspondence to Brandon Shelby regarding
                       affidavit; draft correspondence forwarding affidavit to Darla Cordell;
                       review response from Ms. Cordell; draft reply regarding same; conduct
                       research for example of Anti-SLAPP act applied in local federal court;
                       draft correspondence forwarding same to Mr. Brandt; draft request to Mr.
                       Brandt for assistance with Green and Page affidavits; telephone
                       conferences with Mr. Brandt, Green and Page regarding affidavits;
                       telephone conference with Mr. Shelby regarding his affidavit; review
                       exhibits received from Mr. Shelby for his affidavit; review and revise
                       affidavits; forward affidavits to Green, Page and Shelby; review and revise
                                      motion; conduct legal research for same; review and revise
                       appendix for same; review signed affidavits received from Green, Page
                       and Shelby; draft affidavit for Will Hester; review signed affidavit from
                       Hester; draft correspondence to opposing counsel regarding filing of
                       anti-SLAPP motion; review response from Mr. Brandt confirming
                       deposition not going forward; review response from opposing counsel
                       confirming same; review and revise Page affidavit; review signed Page
                       affidavit; review and revise Cordell affidavit; forward same to Ms. Cordell;
                       review signed affidavit received from Ms. Cordell; exchange
                       correspondence regarding formatting; resend affidavit as PDF file; review
                       final signed affidavit from Ms. Cordell; review exhibits for affidavits and
                       prepare appendix for filing; draft and revise proposed order granting
                       anti-SLAPP motion; review and revise table of contents and table of
                       authorities; review and revise anti-SLAPP motion; prepare same for filing;
                       review confirmation motion filed.                                                         6.60

08/18/2015     DCB     Review correspondence from Darla Cordell regardin attendance at cit
                       council meeting; draft corres ondence in response; draft correspondence
                       to Ms. or ell forwarding anti-SLAPP motion to 1smiss filed with court;
                       review response regarding her review of same; forward correspondence
                       to Ms. Cordell confirming depositions canceled· draft response to Ms.
                       Cordell requesting 1 wn en con irmation regarding attendance at city
                       council meeting; review responses from Ms. Cordell regarding same;
                       telephone conference with City Manager, Ricky         confirming
                       attendance not necessary; draft correspondence to Ms. Cordell
                       confirming same; review res onse from Ms. Cordell.                                        0.70

08/1     5     DCB     Review                   from counsel for    of Bowie c;u1..uc;;;:i1u1
                       confirmation depositions of     employees canceled; review response
                       from opposing counsel             same; forward same to Darla                             0.20
                       For                    Rendered                                                          24.00
     Case 7:14-cv-00123-O                  Document 60   Filed 12/31/15   Page 20 of 43   PageID 784

Darla Cordell                                                                                       '-8Vf ''-U!I 1<-'U   5
                                                                                     Account No:       8694-101
                                                                                      Invoice No:        848307
Matter       - David




                                                                                           Hours
                                      DISCOUNT                                                             -709.50
                    Net Fees After           Discount


         Timekeeper
         Will Hester                                            0.60      $125.00
         "-"V•-''-11"''"'"' Bracken                            23.40       300.00




                    Balance Due                                                                       $6,385.50




                    TERMS: DUE AND PAYABLE UPON RECEIPT
Case 7:14-cv-00123-O   Document 60   Filed 12/31/15   Page 21 of 43   PageID 785
              Case 7:14-cv-00123-O            Document 60         Filed 12/31/15        Page 22 of 43      PageID 786
      Scheef &       L.L.P.
      500 N.       Suite 2700
             Texas 75201
              706-4200




      Darla                                                                                                                5
                                                                                                      Account No:    8694-101
                                                                                                       Invoice No:     849955




      Matter 101 - David Scruggs




                                                                                                            Hours
        5       DCB      Review correspondence from counsel for City, Steve Henninger,
                         regarding motion to amend scheduling order; draft response confirming
                         same.                                                                               0.10

08/28/2015      DCB      Review correspondence from Darla Cordell with copies of medi
                         records; review medical records draft correspondence to Ms. Cordell
                         regar 1ng con act with attorney for City, Art Rodriguez, regarding council
                         meeting; review response from Ms. Cordell re arding time remaining for
                         contactin Mr. Rodri uez· review correspondence from counsel for City,
                         Steve Henninger, regarding continuance in light of pending motion to
                         dismiss; review response from opposing counsel confirming same; review
                         reply from Mr. Henninger; draft response to same.                                   0.30

08/31/2015      DCB      Review response from Ms. Cordell regarding next council meetin ; draft
                         response to same regarding scheduling call to Art Rodriguez· review
                         correspon ence rom cou e            1 y,          nnmger, garding
                                                                                                                     Q
                         potentially rescheduling mediation; draft correspondence to Darla Cordell
                         regarding same; review response from Ms. Cordell and requesting status
                         of City response to motion to dismiss; draft reply to same.                          0.40

09/01/2015      DCB      Review correspondence among counsel regarding extension of
                         deadlines; review correspondence from Steve Henninger will draft joint
                         motion; draft confirmation of same; draft correspondence to Darla Cordell
                         regarding same; review proposed joint motion for continuance received
                         from Mr. Henninger; draft correspondence with suggested changes;
                         review confirmation from opposing counsel; review confirmation same
                         filed with      forward copy of same to Ms.                                          0.30

         5      WLH      Review email from D Bracken regarding the Order              motion to
                         amended             order and docket amended deadlines and trial
                         setting   hr).                                                                       0.30
                         Review order signed   court granting motion to amend scheduling order.               0.10
             Case 7:14-cv-00123-O             Document 60           Filed 12/31/15          Page 23 of 43       PageID 787

      Darla Cordell                                                                                                       09/25/2015
                                                                                                           Account No:     8694-101
                                                                                                            Invoice No:      849955
      Matter 1    - David




                                                                                                                 Hours
        5        WLH   Review email from D Bracken              deadlines sent to him
                                 that were not addressed in the Amended Scheduling
                       review Amended                                       and dates nr'f'l•Hlil"'IOl"I
                       Steve           to calculate current dates for deadlines not addressed in
                       the Amended                Order.                                                          0.50
                       Review correspondence from Steve Henninger regarding dates not
                       included in motion to revise scheduling order; review dates outlined;
                       review response from opposing counsel confirming dates; draft response
                       to opposing counsel confirming dates not revised yet; review his response
                       confirming same; review additional request from Mr. Henninger regarding
                       mediation deadline; confer with Will Hester to review dates and
                       reschedule same; review new dates for deadlines; draft correspondence
                       to opposing counsel forwarding same for review and comment                                 0.50

09/08/2015       DCB   Review correspondence from counsel for City, Steve Henninger,
                       regarding moving mediation; review response from opposing counsel;
                       review correspondence from opposing counsel to mediator to change
                       mediation date; draft correspondence to Darla Cordell to confirm same;
                       review response from Ms. Cordell; review correspondence from mediator
                       confirming mediation canceled; review proposed motion to amend
                       scheduling order received from Mr. Henninger; draft correspondence in
                       response; review response from opposing counsel approving same; draft
                       correspondence approving same; review notice same filed with court;
                       review response to motion to dismiss filed by opposing counsel; review
                       affidavits in support; draft correspondence to Darla Cordell regarding
                       major points from same; review response from Ms. Cordell regarding
                       same; review document previously drafted by Ms. Cordell in response to
                       Scruggs allegations; draft correspondence to Reasha Hedke regarding
                       research for reply brief.                                                                   1.20

09/09/2015       WLH   Review ECF Notice regarding Second Joint Motion to Amend Scheduling
                       Order; review Plaintiff's response to Motion to Dismiss and docket
                       deadline to file reply.                                                                     0.30
                 RCH   Review Plaintiff's response; strategy conference with D. Bracken
                       regarding reply.                                                                            1.20
                       Meeting with Reasha Hedke regarding research for reply to response to
                       motion to dismiss; review notice second amended scheduling order filed.                     0.30

09/10/2015       WLH   Review 2nd Amended Scheduling Order and modify docket to reflect
                       updates.                                                                                    0.25
                 DCB   Review Darla Cordell's response to Scruggs allegations; draft
                       correspondence to Mr. Cordell regarding same; review her response.                          0.30

    1/2015             Telephone conference with counsel for city, Art Rodriguez, regarding
                       council          draft                  to Darla Cordell         same;
                       review                  from Ms. Cordell             not on agenda for
                       upcoming       council meeting; draft correspondence to Mr.            to
                       follow up telephone conference; review response from Ms.
                                  conference with Mr. Rodri uez.                                                   0.40
             Case 7:14-cv-00123-O           Document 60          Filed 12/31/15          Page 24 of 43      PageID 788

      Darla Cordell                                                                                                          5
                                                                                                       Account No:    8694-101
                                                                                                        Invoice No:     849955
      Matter 101 - David Scruggs




                                                                                                             Hours

   2/2015                                                                                                     0.10

09/14/2015     DCB    Telephone call to Art Rodriguez regarding attendance at council meeting;
                      telephone conference with Mr. Rodriguez; review follow up
                      correspondence from Mr.               draft response to same; draft
                      correspondence to Darla Cordell regarding same; review response from
                      Ms. Cordell· exchan e further correspondence regarding council meeting
                      strategy; eview information from s. or ell regar 1ng Scruggs or rep y
                      to response to motion to dismiss; review statements from Guy Green and
                      Rick Beckham regarding motion to dismiss.                                               0.60

09/15/2015     DCB    Review correspondence from Darla Cordell regarding council meeting;
                      draft response to same; telephone call to Art Rodriguez regarding same.                 0.30(£
                                                                                                              0.209
09/16/2015            Draft correspondence to Darla Cordell requesting how city council
                      meeting went; review response from Ms. Cordell; draft correspondence
                      confirming handled well.

09/17/2015     DCB    Review correspondence from Darla Cordell requesting status of
                      anti-SLAPP.                                                                             0.10

09/20/2015     DCB    Work on reply to response to motion to dismiss; conduct legal research
                      for same; review and revise response.                                                   5.80

09/21/2015     WLH    Review email from D Bracken requesting copy of original complaint;
                      access document via Pacer.gov and retrieve copy of original complaint;
                      email copy of the original complaint to D Bracken.                                      0.25
               RCH    Research Texas Anti-SLAPP requirements.                                                 3.20
               DCB    Work on reply to response to motion to dismiss; conduct legal research
                      for same; review and revise response; review correspondence from Darla
                      Cordell requesting status of reply briefing; draft response to Ms. Cordell
                      regarding may need her help; review response confirming same.                           8.40

09/22/2015     RCH    Attorney conference with D. Bracken regarding public official and limited
                      purpose public figure status; finalize research and prepare summary to
                      email to D. Bracken.                                                                    1.80
               DCB    Review and revise reply to response to motion to dismiss; review
                      research from Reasha Hedke; conference with Ms. Hedke regarding
                      same; revise reply brief; prepare same for filing; prepare Cordell's
                      deposition for filing with court; review confirmation brief and appendix filed
                      with court.                                                                             5.70

        5             Review confirmation from court of re-filing of              draft
                      correspondence to Darla                        filed reply brief; review
                      response from Ms. Cordell requesting timeline; draft response to Ms.
                      Cordell explaining procedure; review response from Ms. Cordell.                         0.30
                      For Current Services Rendered                                                          33.20
                      COURTESY DISCOUNT
             Case 7:14-cv-00123-O         Document 60        Filed 12/31/15       Page 25 of 43     PageID 789

      Darla Cordell                                                                                                 5
                                                                                              Account No:    8694-101
                                                                                               invoice No:     849955
      Matter 101 - David




                                                                                                    Hours
                      Net Fees After           Discount


              Timekeeper
              Reasha C. Hedke                                           6.20
              Will Hester                                               1.60                      200.00
              Douglas Bracken                                          25AO




08/18/2015            Overnight Delivery (1) Federal Express                                                    12.85
08/31/2015            Computerized legal research (1013) Thomson Reuters - West                                214.05
                      Total Expenses                                                                           226.90

                      Total Current Services and Expenses

                      Previous Balance                                                                       $6,385.50




09/09/2015            Payment from client funds 8694.100 - thank you                                         -1,317.50
09/18/2015            Payment - thank you - VISA                                                             -5,000.00
                      Total Payments                                                                         -6,317.50

                      Balance Due                                                                            $8,127.65

                                                     Past Due Amounts
                       0-30            31-60           61-90          91-120                          181+
                       0.00            68.00             0.00           0.00           0.00           0.00




                      TERMS: DUE AND PAYABLE
             Case 7:14-cv-00123-O         Document 60         Filed 12/31/15      Page 26 of 43     PageID 790
                      LL.P.
                    Suite 2700
              Texas 75201
             706-4200



                                                        INVOICE


      Darla Cordell                                                                                          0/25/2015
                                                                                              Account No:    8694-101
                                                                                               Invoice No:     851644




      Matter 101 - David Scruggs




                                                                                                    Hours
10/06/2015            Review correspondence from mediator regarding rescheduling mediation;
                      review response from opposing counsel confirming case abated until
                      ruling on motion to dismiss; draft correspondence to Darla Cordell
                      regarding same.                                                                0.20
                      For Current Services Rendered                                                  0.20        60.00

                                                      Recapitulation
               Timekeeper                                              Hours   Hourly Rate         Total
               Douglas Bracken                                          0.20      $300.00         $60.00




09/20/2015            Computerized legal research (1013) Thomson Reuters - West                                 704.67
09/25/2015            Filing fee 3rd Quarter Pacer                                                                7.60
                      Total Expenses                                                                            712.27

                      Total Current Services and Expenses                                                       772.27

                      Previous Balance                                                                       $8,127.65



10/14/2015            Payment via Discover credit card thank you                                                 27.65


                      Balance Due




                      TERMS: DUE AND PAYABLE                RECEIPT
             Case 7:14-cv-00123-O           Document 60           Filed 12/31/15       Page 27 of 43      PageID 791
                      L.L.P.
                    Suite 2700
              Texas 75201
             706-4200



                                                           INVOICE


      Darla Cordell
                                                                                                     Account No:
                                                                                                      Invoice No:




      Matter 101 - David Scruggs




                                                                                                           Hours
11/11/2015     WLH    Review and respond to email from D Bracken regarding deadline for
                             to enter ruling on Anti-SLAPP motion.                                          0.10
                      Review correspondence from City1s counsel, Steve Henninger, requesting
                      status of motion to dismiss; draft response to same; review status of
                      deadline for court to rule; draft response to Mr. Henninger; review
                                                         :~; draft correspondence to Mr. Henninger
                      confirming                              ; review response to same.                    0.30

11/13/2015     DCB    Review correspondence from mediator requesting status of mediation
                      scheduling; review response from counsel for Scruggs denying mediation
                      until court rules; draft correspondence to Darla Cordell forwarding same
                      and outlining status of motion and case; review response from Ms.
                      Cordell.                                                                              0.30
                       For Current Services Rendered                                                        0.70      192.50

                                                         Recapitulation
               Timekeeper                                                 Hours                           Total
               Will Hester                                                 0.10        $125.00          $12.50
               Douglas Bracken                                             0.60         300.00           180.00


                      Total Current Services and Expenses                                                             192.50

                       Previous Balance


                       Balance Due                                                                                   $964.77

                                                       Past Due Amounts

                      772.27              0.00             0.00              0.00             0.00            0.00
     Case 7:14-cv-00123-O      Document 60    Filed 12/31/15   Page 28 of 43   PageID 792

Darla Cordell                                                                                   5
                                                                          Account No:    8694-101
                                                                           Invoice No:     853034
Matter 101 - David




                TERMS: DUE AND PAYABLE UPON RECEIPT
             Case 7:14-cv-00123-O                   Document 60                 Filed 12/31/15                Page 29 of 43          PageID 793
      Scheef &
      500 N.       Suite 2700
             Texas 75201
         4) 706-4200



                                                                         INVOICE


      Darla Cordell                                                                                                                                  5
                                                                                                                               Account No:    8694-101
                                                                                                                                Invoice No:     854780




      Matter 01 - David Scruggs
                                                                                                                                   DRAFT




                                                                                                                                     Hours
 2/02/2015             Telephone conference with Steve Henninger regarding motion for
                       continuance; review correspondence from Mr. Henninger to opposing
                       counsel regarding same; review Second Motion for Continuance and
                       Third Amended Scheduling Order forwarded by Mr. Henninger to
                       opposing counsel for review; review response from opposing counsel
                       approving of same; review response from Mr. Henninger requesting
                       confirmation; review and revise proposed motion and scheduling order;
                       draft response confirming proposed drafts acceptable with changes;
                       review confirmation motion filed; draft correspondence to Darla Cordell
                       regarding same.                                                                                                0.60

12/03/2015     DCB     Review correspondence from Darla Cordell confirming status of motion to
                       dismiss.                                                                                                       0.10

12/04/2015     DCB     Review correspondence from mediator requesting status; review
                       response from opposing counsel to mediator confirming matter still not
                       ripe for mediation.                                                                                            0.20

12/15/2015     WLH     Review email from D Bracken requesting status of filings in the matter;
                       access Pacer.gov to review the case docket; email D Bracken to advise
                       the Motion to Continue is the last document filed.                                                             0.20
               DCB     Review correspondence from Darla Cordell requesting status and
                       advising of trial of criminal charge; review status of docket in case; draft
                       correspondence to City's counsel regarding same; review response from
                             counsel; draft correspondence to Ms. Cordell confirming status;
                       review reply from Ms.                                                                                          0.30

12/17/2015     WLH     Review                                                                                                         0.20
                       Review                                                       review order ,... ................ . . .
                       motion to dismiss in detail; draft correspondence to Darla
                       regarding order granting motion to dismiss; review order
                                    draft                     to Ms. Cordell                status of
                                                        ll"n1·rac~nri.nr1,anr•o from Ms. Cordell
             Case 7:14-cv-00123-O               Document 60               Filed 12/31/15             Page 30 of 43        PageID 794
      Daria Cordell                                                                                                                 2/31/2015
                                                                                                                     Account No:    8694-101
                                                                                                                      Invoice No:     854780
      Matter 101 - David




                                                                                                                           Hours
                      regarding order to dismiss;
                      ft"Of"(l".lli"l"lllnn order to dismiss and ft"an".lli"ril•nn ~tt.r'\i"n.c:i.u

                      conference with Brandon
                      .... ++ ..., ..,..,,,.,., fees incurred
                      television news i"Oi"•nrl~ar
                                                  contact   news       draft response to            same; draft
                      correspondence to Mr. Shelby to follow up request for invoices; conduct
                      legal research for attorney fee declaration.                                                          2.40

12/18/2015     DCB    Review correspondence from Darla Cordell regarding order to dismiss;
                      draft response to Ms. Cordell regarding same; telephone conference with
                      City•s counsel, Steve Henninger, regarding order to dismiss and attorney
                      fees; draft correspondence to Darla Cordell regarding same; review
                      response from Ms. Cordell to same; conduct legal research for attorney
                      fee application; review attorney fee application received from Jim Pikl;
                      request billing information from Will Hester and Amy Gray for attorney
                      fees and costs; review correspondence from Brandon Shelby regarding
                      invoices; review attorney fees invoices from Mr. Shelby.                                              1.80

12/21/2015     WLH    Review email from D Bracken requesting invoices from S&S accounting
                      and attached documents from Shelby Law be organized for preparation to
                      file for attorney fees and expenses; review email with attached accounting
                      from A Gray reflecting fees; review and calculate total fees for both S&S
                      and Shelby Law; provide hard copies of documents and calculation to D
                      Bracken.                                                                                              0.70
               DCB    Review status of invoices for attorney fees including expenses; review
                      article received from Will Hester; review invoices from Brandon Shelby for
                      attorney fees application; draft response to Mr. Shelby; conduct legal
                      research for attorney fees application.                                                               1.20

12/22/2015     DCB    Review correspondence from Darla Cordell regarding whether issues
                      resolved; draft response to same; conduct legal research for application
                      for attorney fees.                                                                                    0.70

12/23/2015     DCB    Conduct legal research regarding fees and costs in 5th Circuit and
                      Northern District of Texas; review fee invoices; review objection to Court's
                      order filed by opposing counsel.                                                                      1.40

12/28/2015     WLH    Conference with D Bracken regarding pleading to advise Court of
                      reasonable fees and expenses; access Pacer.gov to research similarly
                      filed pleadings; retrieve briefs and forward to D Bracken for review.                                 0.40
                      Conduct additional research regarding reasonable attorneys fees; review
                            fee              outline affidavit in           review Plaintiff's
                                                         conduct legal research '"'°'"' "'.> ..r1i;n,.., claims in
                                                                                       1




                                   "''"''~i"ac::-nr•nnan1"''° to Darla                                                      1.80

1       5      DCB
              Case 7:14-cv-00123-O                    Document 60                   Filed 12/31/15                    Page 31 of 43       PageID 795
      Darla                                                                                                                                          1          5
                                                                                                                                     Account No:         8694-101
                                                                                                                                      Invoice No:          854780
      Matter 01 - David




                                                                                                                                           Hours
                      draft "'""' ....,,,,.,, ...,.. ... n,..,. ... ,.,,..,. to Ms. Cordell explaining basis for 001ect1ons:
                                                                                    1nrlarct!ln1rlnn1n of same.                             1.60

12/30/2015      DCB   Review fee              continue to draft affidavit in        of !ltt..... rn.o.uc
                      fees; draft affidavit for Brandon           continue to draft and revise brief
                      in support of attorneys fees; conduct additional legal research ran1 ~r 1111 nn
                      Texas law for attorneys fees.                                                                                         4.40

        5       DCB   Review and revise brief and appendix to brief for attorneys fees;
                      exchange correspondence with Brandon Shelby; forward affidavit for his
                      review; review signed affidavit; prepare brief and appendix for filing.                                               3.70
                      For Current Services Rendered                                                                                        21.70

                                                                         Recapitulation
                Timekeeper                                                                     Hours                                     Total
                Will Hester                                                                     1.50                  $125.00          $187.50
                Douglas Bracken                                                                 20.20                   300.00


                      Total Current Services and Expenses

                      Previous Balance                                                                                                                    $964.77



12/08/2015            Payment - thank you - Discover                                                                                                       -772.27


                      Balance Due                                                                                                                        $6,440.00

                                                                      Past Due Amounts
                        0-30                                              61-90                   91-120                   121-180           181+
                        0.00                  192.50                       0.00                     0.00                      0.00            0.00




                                    DUE                                        RECEIPT
Case 7:14-cv-00123-O           Document 60       Filed 12/31/15        Page 32 of 43      PageID 796




           SCRUGGS,                               §
                                                  §
                                                  §
                                                  § .
 vs.                                              §
                                                  §                        NO.   14-CV-00123-0
               BOWIE, and           CORDELL       §
                                                  §
               Defendants                         §
                                                  §

                                   BRANDON SHELBY
                            ATTORNEY'S FEES, COSTS AND EXPENSES

 I, BRANDON SHELBY, declare pursuant to 28 U.S.C. Section 1746:

          1. .     My name is Brandon Shelby. I am fully qualified and competent to make this ·

 Declaration. I am over eighteen (18) years old. I have personal knowledge of all facts stated ·

. herein oth~r than those facts which I expressly state are made on the basis of information and

 belief

          2.       I am an attorney in Sherman, Texas and I_ am currently ·the Director of the law ·

 finn Shelby Law, PLLC. Before establishing. my own law firm, I was the City Attorney for the

 City of Sherman for more ~han five years. Before that, I was in private practice with two

 different firms in Dallas, Texas. I received a BA degree from Austin College in 2001 and a JD

 from the University of Texas at Austin in 2004. ·

           3. ·    Plaintiff's Original Complaint was filed ~gainst Judge Cordell on November 7,

 2014 (ECF No. 1). Initially, Counsel for               of Bowie also represented Judge Cordell and

       a motion to dismiss on her behalf. Soon thereafter, Plaintiff voluntarily dismissed Judge


 DECLARATION OF BRANDON SHELBY IN SUPPORT OF AWARD OF ATTORNEY~s                          COSTS
 AND EXPENSES -- PAGE
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                                                                     on

                                                          no longer represented

                        . . . . . . ,.. . . . . . .,. . . subsequently retained me, and on February 9, 2015,   assisted

                                                          dismissal                   lawsuit.          March        2015,

                                          to me disputing                   statements from the · press release,

                                                                     30 days. The four statements outlined

 the March      2015 letter were          same statements              Plaintiff asserted were false in Plaintiffs

 Second Amended Complaint filed against Judge Cordell on June 22, 2015.

          5.    I responded on April 20, 2015. to the March 19, 2015 letter, outlining· that the

 disputed statements were not false, and refusing a "blanket retraction of her press release or the

 statements identified in [the] letter."          On May 29, 2015, I defended Judge Cordell in her

 deposition by Plaintiff's counsel in this case.

        _ 6.    On June 22, 2015, Plaintiff brought Judge Cordell back into this lawsuit by filing

 Plaintiffs Second Amended Complaint (ECF No. 28). - Among. other tasks, I reviewed the .

 Second Amended Complaint and filed an. answer on behalf of Judge Cordell on July 15, 2015

 (ECF No. 38). However, Scheef & Stone, LLP substituted as counsel in this lawsuit for Judge

 Cordell on July 24, 2015 (ECF No. 42).

         7.     All of the work pe1fmmed by Shelby Law, PLLC was performed by me. My

standard rate is $400 per hour fol' my services. This rate is comparable to or lower than rates

 charged- by attorneys with simllar levels of experience at similar law fim1s in Grayson County,

Texas; or in      No1them or Eastern Districts of Texas. However, because Judge Cordell sought .




DECLARATION OF BRANDON                          IN SUPPORT OF AWARD OF ATTORNEY'S                                COSTS
AND EXPENSES -M PAGE 2
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                                                                                                        to       per

                                                case.

         8.                     reasonable and necessary fees incurred                                        are not

                                                                        other relevant information; conducting legal

                                                                                                               facts,

                                                        evidence relevant to    dispute; reviewing legal arguments.

presented by    JL(,Jl..LI.... .,.......   JL~ responding to such arguments; defending Judge Cordell's deposition


 taken by Plain~iff                          the demand letter; reviewing pleadings filed in the court; developing;

 exploring      implementing legal theories and strategies to present Defendant's defense to

Plaintiff's claims; and preparing and filing pleadings and other papers with the court.

         9.    I have reviewed the invoices for Shelby Law, PLLC                              this matter, true and

correct copies of which are attached. The total amount of attorney's fees incurred on this case by

 Shelby Law, PLLC after Plaintiff threatened.to sue Judge Cordell for statements contained in the

February 9, 2015 press release has been $2,975.00. I did not charge Judge Cordell for any

expenses.

         10.   However, in the exercise of billing judgment, I have excluded two entries totaling

 .50 hours from invoice 1046 that are, in my opinion, unrelated to this action because Judge

 Cotdell was consulting with me regarding her employment with the City of Bowie and her

dispute with Chief Scruggs' wife.

         11.   Accordingly, the total reasonable and necessary attorney's fees, costs and

expenses incurred by Shelby Law,
                                                                                                                          .1




DECLARATION OF BRANDON SHELBY IN                                        OF AWARD OF ATTORNEY'S               COSTS
AND EXPENSES -- PAGE 3
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 arising _out                          release                                                                        are

 $2,887.50.

                   12.   The attorneys'          incurred by me are      usual and customary fees for

             ate reasonable         necessary and were i~curred

              ~'"' that evaluation, I considered _the .fees customarily charged
 .....-.Q.T"...                                                                                 area       the same or

                                 amount                                                 controversy; the

 results obtained for ,Defendant; the likeli~ood th~t acceptance of this employment precluded

 other emplo~ent by me and Shelby Law,                                experience, reputation, and-ability of those

 involved in this lawsuit; and. the novelty of the claims asserted.

                   lJ.   My opinions expressed herein are based· upon             information received to date. I

 reserve
      .
         the right to supplement this declaration
                                               -
                                                  and its conclusions subject to any addit.ional

 information made available to me.



                  I declare up.~er penalty of peijury that the foregoing-is true and correct.


                  Executed on December 31, 2015'.




 1
   Johnsonv. Georgia Highway Express, Inc., 488 F.2d 714, 717-19 (5 111 Cir. 1974) requires the Court to consider:
 (1) the time and labor required; (2) the novelty and difficulty of the questions; (3) the skill requisite to perform the
 Jegal services properly; (4) the preclusion of other employment by the attorney due to acceptance of the case; (5) the
 customary fee for similar services in the locality; (6) whether the fee is fixed or contingent~ (7) the time limitations· ·
 imposed by the client or the circumstances; (8) the amount involved and the results obtained; (9) the experience,
 reputation, and ability of the attorneys; (10) the "undesirability', of the case; and, (11) the nature and length of the
 professional relationship with the client; and (12) awards in similar cases. Id at 717-19; see also Arthur Andei·sen
 c_o. v. PenJ' Equip. Corp., 945 S.W.2d 812, 818 (Tex. 1997)(outlining simiiar factors for Texas state courts).

 DECLARATION OF BRANDON SHELBY IN                                                OF ATTORNEY'S                 COSTS
 AND EXPENSES PAGE         WM
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           Shelby Law,
              Box 1316
           Sherman,     75091                                                                                 Date            Invoice#
           903-357-5101
           www.ShelbyLawPLLC.com                                                                          5/112015               1046

                                                                                                                        Terms

          Bill To                                                                                                    Due on receipt
       Darla D Cordell
       235 PR207
       Bowie, TX 76230




                             Description                                       Hrs              Rate/Hr                     Amount

Meet with client regarding recent activity                                            0.5                 175.00                      87.50
Draft correspondence to City of Bowie regarding future attendance                    0.25                 175.00                      43.75
of client at City Council Meetings
Review audio recordings of Ja'rae Scruggs                                            0.25                 175.00                      43.75
Review additional documents provided by client including                              0.5                 175.00                      87.50
statements and partial Rangers report
Multiple teleconferences with Steve Henninger                                        0.75                 175.00                      131.25
Draft response to Nick O'Kelley regarding demand to retract ce1iain                  4.25                 175.00                      743.75
statements from press release: including review of initial statement,
review of documents filed in underlying federal case, review of
correspondence with news media, review and analysis of case law
regarding defamation, and review of supp01iing documentation

I have discounted this invoice to exclude any charges for client
telephone calls regarding activity status and all phone calls related
to the scheduling of depositions and status into investigation of
assault incident, as well as all postage fees.




                                                                                                          I
Thank you for your business.
                                                                                                                                 $1,137.50

                                                                                                                                 -$1,137.50


                                                                                                                                        $0.00
      Case 7:14-cv-00123-O Document 60   Filed 12/31/15         Page 37 of 43           PageID 801
          Shelby Law, PLLC                                                                                ..
          PO Box 1316
                                                                                                          I
          Sherman,     75091                                                     Date            Invoice#
          903-357-5101
          www.ShelbyLawPLLC.com                                                6/1/2015             1052

                                                                                           Terms

         Bill To                                                                        Due on receipt
      Darla D Cordell
      235 PR 207
      Bowie, TX 76230




                          Description           Hrs                  Rate/Hr                   Amount

May 29 Deposition, Scruggs v. Bowie                       3.5                  175.00                    612.50




Thank you for your business.
                                                                                                         $612.50

                                                                                                     -$612.50


                                                                                                               $0.00
       Case 7:14-cv-00123-O                  Document 60               Filed 12/31/15         Page 38 of 43          PageID 802
              Shelby Law, PLLC
              PO Box 1316
              Sherman,     75091                                                                              Date            Invoice#
              903-357-5101
              www.ShelbyLawPLLC.com                                                                         7/31/2015            1061

                                                                                                                        Terms

         BillTo                                                                                                      Due on receipt
       Darla D Cordell
       235 PR207
       Bowie, TX 76230




                            Description                                       Hrs                 Rate/Hr                   Amount

June 29, 2015: Review and Analyze Amended Complaint                                 0.25                    175.00                    43.75
June 29, 2015: Review and respond to correspondence from TML                        0.25                    175.00                    43.75
regarding defense coverage
July 1, 2015: Telephone call to Nick O'Kelley                                       0.25                    175.00                     43.75
July 2, 2015: Draft/File Motion for Extension of Time                               0.25                    175.00                     43.75
July 2, 2015: File Notice of Appearance                                             0.25                    175.00                     43.75
July 8, 2015: Consult with Attorneys for City of Bowie and Plaintiff                0.25                    175.00                     43.75
regarding mediation dates
July 9, 2015: Review Answer to Amended Complaint filed by City                      0.25                    175.00                     43.75
of Bowie
July 10, 2015: Consult with opposing counsel regarding extension                    0.25                    175.00                     43.75
of mediation deadline and review joint motion
July 14, 2015: Consult with opposing counsel regarding dates for                    0.25                    175.00                     43.75
mediation
July 15, 2015: Review second Motion to Extend mediation deadline                    0.25                    175.00                     43.75
July 15, 2015: Draft and file Answer to Amended Complaint                            3.5                    175.00                    612.50
July 21, 2015: Consult with other counsel regarding deposition                      0.25                    175.00                     43.75
dates for Plaintiff Scruggs
July 22, 2015: Telephone Call with Doug Bracken regarding                               0.5                 175.00                      87.50
substitution as counsel
July 23, 2015: Review Motion to Substitute Counsel                                  0.25                    175.00                     43.75




                                                                                                                                 $1,225.00

                                                                                                                                -$1,225.00
                                       903-357-5101

                                                                                                                                        $0.00
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                                        UNITED STATES DISTRICT COURT
                                         NORTHERN DISTRICT OF TEXAS


 DAVID SCRUGGS,                                       §
                                                      §
                Plaintiffs                            §
                                                      §
 vs.                                                  §
                                                      §     CIVIL ACTION NO. 7:14-CV-00123-0
           OF BOWIE, and                CORDELL       §
                                                      §
                Defendants                            §
                                                      §




 I, BRYAN R. HAYNES, declare pursuant to 28 U.S.C. Section 1746:

           1.        My name is Bryan R. Haynes. I am fully qualified and competent to make this

 Declaration. I am over eighteen (18) years old. I have personal knowledge of all facts stated

 herein other than those facts which I expressly state are made on the basis of information and

 belief.

            2.       I am a partner with the law firm of Scheef & Stone, LLP. I graduated from Baylor

 University School of Business in May 1988 with a Bachelor of Business Administration degree

 in Accounting. I subsequently graduated from Baylor University School of Law in February

 1991. I was licensed to practice by the State Bar of Texas in May, 1991 and have been a member

 in good standing since that time. I began my practice in May 1991 with the law firm now known

 as Locke Lord               With the exception of the following sentence, I was with Locke Lord,

 from May 1991 until September 2009, including as a partner from January 2000 to September

 2009. From approximately August 1996 to approximately February 1998, I was an associate with

 DECLARATION OF BRYAN R. HAYNES IN SUPPORT OF AWARD OF ATTORNEY'S                            COSTS
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the law firm now known as Cooper & Scully,                    September 2009 I moved my practice to

Scheef & Stone,          and I have been a partner at               since that time.      practice for my

entire 24 Yz year career has been exclusively as a trial lawyer.

         3.      I am a licensed to practice before the United States District Courts for

Northern (December 1991), _._,. . ._,_, , . . ,_._. . . (February 1995), Western (October 1995) and Southern

(April 1997) Districts of Texas, Western District of Michigan (November 1997),                  District of

Colorado (January 1999), and Northern District of Indiana (July 2007), and before the United

States Court of Appeals for the Fifth Circuit (July 1995). I have been admitted pro hac vice to

practice in multiple other Federal District Courts, including the Central and Northern Districts of

 California, the Middle District of Florida, the Western District of Kentucky, the Eastern District

of Louisiana, the District of Maryland, the Western District of North Carolina, the Middle

District of Pennsylvania, the Middle District of Telmessee and the District of Utah.

          4.     I have appeared in more than 200 cases in Federal Courts across the United

 States, including approximately 82 in the Northern District of Texas. I have tried more than 60

jury and non-jury cases in Federal and state comis, as well as numerous arbitrations

          5.     From practicing law in the Dallas/Ft. Worth area for almost twenty-five years,

 specifically in civil trial law, I have become familiar with the prevailing market rates for this type of

practice in this area. In my own firm and my prior firm, Locke Lord, LLP, I know that senior

 litigators routinely seek in excess of $400 per hour for civil trial work. My own standard rate is

 $420.00 an hour, which I routinely charge.      I~ the last two to three years I have been involved in


 lawsuits with various law firms in the Dallas/Ft. W01ih area, including Fish & Richardson, PC,

 Norton Rose Fulbright, McKool Smith PC, Gardere Wynne Sewell, LLP and others, and I know that

 senior litigators in those firms charge     excess of $400 per hour for their services, and that many
 DECLARATION OF BRYAN R. HAYNES IN SUPPORT OF AWARD OF ATTORNEY'S                                COSTS
 AND EXPENSES -- PAGE 2
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charge substantially        excess of $400 an hour.

           6.      I am familiar                Bracken, his reputation, and his work, including his work in

this case. He is an experienced and capable trial lawyer. From my own observations, my own billing

practice, and through discussions with members of other firms in Dallas/F mi W01ih who practice

regularly        Northern District of Texas, I have detennined that $400                      hour is consistent with

attorneys in this district who have experience and background similar to Mr. Bracken.

           7.      Based on my education, training and experience, it is my opinion that the rate of $300

per hour is not only reasonable and well within the prevailing market rate for the work performed by

      Bracken in this matter, it is actually below market for an attorney with the education, training

 and experience of Mr. Bracken. I have reviewed invoices for Scheef & Stone, LLP in this matter

 containing Mr. Bracken's time entries, as well as Mr. Bracken's Declaration relating to the

request for attorneys' fees in this matter. Based on these documents, it is my understanding that

 the total number of hours expended by Mr. Bracken for the relevant services is approximately

 81.70 and that based on the billing rate of $300.00 an hour, the amount of attorneys' fees

 incurred is approximately $24,510. Based on my education, training and experience, it is my

 opinion that the number of hours expended by Mr. Bracken were reasonable for the services he

 rendered and that the services he rendered were necessary for this matter. It is my further opinion

 that the total amount of attorneys' fees sought are reasonable and necessary.

            8.     Each of my opinions in this Declaration are based upon a consideration of the

 factors set forth in Johnson v. Georgia Highway Express, Inc., 488 F.2d 714, 717-19 (5 1h Cir.

 1974). 1 Specifically, I considered:               time and labor involved; the novelty of the Texas Anti-


 1
  Johnson v. Georgia Highway Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974) requires the Court to consider: (1)
 the time and labor required; (2) the novelty and difficulty of the questions; (3) the skill requisite to perform the legal
 services properly; (4) the preclusion of other employment by the attorney due to acceptance of the case; (5) the
 DECLARATION OF BRYAN R. HAYNES IN SUPPORT OF AW ARD OF ATTORNEY'S                                              COSTS
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           statute and its dismissal procedure; the skills of                      Bracken; the likelihood that

acceptance of employment by                    Bracken in this matter at the time and under the time

constraints he was under precluded other hourly employment by him; the customary fees                                                       the

Northern District of Texas for similar work; the fact                   Bracken's professional business model

does not support contingency based work, particularly on this type of matter; the time                     Jlll.JlJl. .l.Jl ............   .._,JL... ...,



imposed by the Texas Anti-SLAPP statute and                       timing of the filing against Defendant; the

favorable result obtained for Defendant; the experience, reputation and ability of Mr. Bracken

and others performing the services; the fact that the Defendant was a new client to Mr. Bracken

 and an individual (rather than a corporation) without insurance coverage and that as such she

may have difficulty paying the hourly fees (which ordinarily would result in a higher, not lower,

rate); and other awards of attorney fees in similar cases. I also considered the unique facts and

 circumstances of this case as I understand them.

           9.      It is my understanding that the total amount of expenses incurred by Scheef &

 Stone, LLP in the defense of this action after Plaintiff filed his Second Amended Complaint is

 $939.17. In my experience, these expenses are reasonable and not normally absorbed as part of a

 law firm's overhead, but are the type of expenses that are normally billed to a client. In my

 opinion these expenses are also reasonable and appropriate for this type of case and these

 expenses were necessary to defense of the lawsuit.

           10.     If Plaintiff makes an unsuccessful appeal from this lawsuit to the United States

 Court of Appeals for the Fifth Circuit, I am also of the opinion that $25,000 would be a

 customary fee for similar services in the locality; (6) whether the fee is fixed or contingent; (7) the time limitations
 imposed by the client or the circumstances; (8) the amount involved and the results obtained; (9) the experience,
 reputation, and ability of the attorneys; (10) the "undesirability" of the case; and, (11) the nature and length of the
 professional relationship with the client; and (12) awards in similar cases. Id at 717-19; see also Arthur Andersen
 Co. v. Perry Equip. Corp., 945 S.W.2d 812, 818 (Tex. 1997)(outlining similar factors for Texas state comis).
 DECLARATION OF BRYAN R. HAYNES IN SUPPORT OF AWARD OF ATTORNEY'S                                             COSTS
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reasonable fee for services performed by Scheef & Stone,          on appeal.

          11.   Further, I am of the further opinion that $35,000 would be a reasonable fee for

services performed by Scheef & Stone,          on appeal of this cause to      United States Supreme

Court.

          12.   My opinions expressed herein are based upon all information received to date. I

reserve the right to supplement this affidavit and its conclusions subject to any additional

information made available to me.


         I declare under penalty of perjury that the


          Executed on December 31, 2015.




 DECLARATION OF BRYAN           HAYNES IN SUPPORT OF AWARD OF ATTORNEY'S                   COSTS
 AND EXPENSES -- PAGE 5
